






Opinion issued January 24, 2008














In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00514-CR

____________


ALLEN WILLIAM, III, Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from the 339th District Court

Harris County, Texas

Trial Court Cause No. 1071872






MEMORANDUM  OPINION

	On January 4, 2008, appellant  filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

	We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

	The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Nuchia, Hanks, and Higley. 

Do not publish.  Tex. R. App. P. 47.2(b).


